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                       UNITED STATES DISTRICT COURT

                      CENTRAL DISTRICT OF CALIFORNIA

                      SOUTHERN DIVISION AT SANTA ANA

             HONORABLE JOSEPHINE L. STATON, JUDGE PRESIDING




     UNITED STATES OF AMERICA,          )
                                        )
                  PLAINTIFF,            )
                                        )
               vs.                      ) SACR NO. 15-00063-JLS
                                        ) VOLUME II
     TODD CHRISTIAN HARTMAN,            )
                                        )
                  DEFENDANT.            )
     ___________________________________)




                   REPORTER'S TRANSCRIPT OF PROCEEDINGS

                            SANTA ANA, CALIFORNIA

                         TUESDAY, OCTOBER 27, 2015

                                   9:03 A.M.




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                                   I N D E X



     DEFENDANT'S WITNESSES:       DIRECT    CROSS   REDIRECT    RECROSS

      KURTIS KLOCKE                          79       97


      PHILIP MAINOLFI                        99




                               E X H I B I T S

     DEFENDANT'S EXHIBITS:                     IDENTIFICATION    EVIDENCE

      EXHIBITS J AND K EXCERPTS FROM                               79
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            SUPPLEMENTAL OPPOSITION




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           1    SANTA ANA, CALIFORNIA; TUESDAY, OCTOBER 27, 2015; 11:27 A.M.

           2                                      -oOo-

           3          (The following proceedings were had in open

           4          court:)

11:27:34   5                THE COURT:    All right.      Well, a couple of

           6    housekeeping items:

           7                The Court did review documents that were provided,

           8    and I don't know if the L.A. Sheriff's Department attorney

           9    provided what the Court had ordered be provided yet.            It's

11:27:54   10   just one -- one document, one letter.         But the Court had to

           11   review a large stack of documents, which is why it took us

           12   this long.    I hadn't anticipated that as part of this

           13   morning's proceedings when we set the time.          However, I have

           14   a conflict, afternoon, and it's 11:25.         That's not going to

11:28:15   15   give you enough time, I think, to get through this hearing

           16   today.   But I have tomorrow afternoon available, if -- if

           17   Counsel are not otherwise engaged in another courtroom.

           18               So why don't we get through what we can until noon

           19   today; and then, I'll give you the afternoon.          We'll start

11:28:45   20   just in case I have -- I'm not going to start before

           21   2:00 p.m., because I'm not sure that I will be back before

           22   2:00 p.m.    I have a morning conflict.       So we'll begin at

           23   2:00 p.m., and that will give us another time to finish.

           24               All right.    Okay.    So with that, let's -- oh --

11:29:12   25   well, you have to, I suppose, wait for the document.            I


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11:29:15   1    don't know if you want -- who's going to begin?           How are we

           2    going to begin this process?

           3                It's defendant's motion.

           4                MS. JACOBS:    We're going to call the two neighbors

11:29:27   5    who submitted declarations, Kurtis Paul Klocke and Philip

           6    Mainolfi.

           7                THE COURT:    All right.

           8                MS. JACOBS:    And we're not doing any direct of

           9    them, but the government had, I believe, a few questions on

11:29:39   10   cross.

           11               THE COURT:    All right.    Then, let's begin there.

           12               Who are you calling -- who is going to be called

           13   first?   Since it's the Government who's going to be

           14   examining, I'll let you --

11:29:51   15               MS. JACOBS:    Mr. Klocke.

           16               THE COURT:    Mr. Klocke.

           17               MS. JACOBS:    Kurtis Paul Klocke.

           18               MR. ORTEGA:    We're getting him, Your Honor.

           19               THE COURT:    Thank you.

11:29:58   20               MR. ORTEGA:    Your Honor, while we're waiting, I

           21   think I forgot to move Exhibits J and K into evidence.

           22               THE COURT:    I think you did.     All right.

           23               MR. ORTEGA:    Move now, I would appreciate it.

           24               THE COURT:    Yes.   Those will be admitted into

11:30:08   25   evidence.


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11:30:10   1          (Defendant's Exhibits J and K received in

           2          evidence.)

           3                THE COURT:    All right.    Sir, if you could step

           4    forward through the door; and then, stop at this end of

11:30:17   5    counsel table.

           6                THE CLERK:    Raise your right hand.

           7               CURTIS KLOCKE, DEFENDANT'S WITNESS, SWORN

           8                THE WITNESS:    Yes, ma'am.

           9                THE CLERK:    Step forward.

11:30:30   10         (Pause.)

           11               THE CLERK:    Sir, if you could, please, state your

           12   full name, spelling your last for the record.

           13               THE WITNESS:    Kurtis Klocke, K-L-O-C-K-E.

           14               THE COURT:    You may inquire.

11:30:54   15                            CROSS-EXAMINATION

           16   BY MS. LEAL:

           17   Q     Good morning, Mr. Klocke.

           18   A     Good morning.

           19   Q     How do you know Mr. Hartman, Todd Hartman?

11:31:02   20   A     He's my back neighbor.      Lives behind me.

           21   Q     Okay.    And when you say "back neighbor," can I have

           22   your address?

           23   A     217 35th Street, Newport Beach.        I live in the front

           24   unit.   He lives in the back.      It's split in half.

11:31:16   25   Q     How long have you lived in that front unit?


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11:31:18   1    A     Probably two, two-and-a-half years now.

           2    Q     Okay.    And may inquire if the Government exhibit book

           3    is up there, the manila folders.

           4    A     There's, yeah, Exhibit 1, 2 and 3.

11:31:39   5    Q     Okay.    And you look at Exhibit 2 that's been marked for

           6    Exhibit 2, identification purposes only.

           7    A     Okay.

           8    Q     Do you see that?

           9    A     Yes.

11:31:50   10   Q     Do you recognize that photograph?

           11   A     Yep.    That's the top of my house.

           12   Q     Okay.    And you see there's a -- you see there's a

           13   letter "A"?

           14   A     Yep.    Right in front of the patio.

11:32:01   15   Q     So that would be near the back of your unit?

           16   A     Yes.    That's the very back of mine, start of his.

           17   That's actually like -- where that "A" is, is the start of

           18   his patio.

           19   Q     Okay.    And how do you get to his unit --

11:32:11   20   A     You either go behind --

           21                THE COURT:   I'm sorry.    I'm going to ask you to

           22   just slow down a bit in your testimony.         Unlike regular

           23   conversation, this is, actually, being taken down by a

           24   court reporter and so you make her life difficult, if you

11:32:29   25   speak quickly.


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11:32:31   1                 THE WITNESS:   Sorry.    I will slow down.

           2                 THE COURT:   All right.    So let's re-ask the

           3    question; and then, begin with the answer.

           4    BY MS. LEAL:

11:32:36   5    Q     Mr. Klocke, the unit behind you, how does a person

           6    enter that unit, if you could tell me?

           7    A     In the front, there is a small walkway on the

           8    right-hand side of the house that goes all the way back; and

           9    then, there is a set of stairs that go up the stairs to kind

11:32:53   10   off where you see that "A," patio at.

           11   Q     Okay.    So the stairwell would take you up to the patio

           12   area?

           13   A     Uh-huh.

           14   Q     Is there a door to enter --

11:33:02   15   A     There's a front door, right there, right at the top of

           16   the stairs.

           17   Q     Okay.    Let me finish my sentence first, okay?

           18   A     Sorry.

           19   Q     Okay.    And let's look at what's been marked for

11:33:12   20   identification purposes as Exhibit 3?

           21   A     (Witness so complies.)

           22   Q     Do you recognize Exhibit 3?

           23   A     Yes.

           24   Q     What is that?

11:33:30   25   A     That is the front of my house with that walkway to the


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11:33:35   1    right that I was talking about.

           2    Q     Okay.    So that walkway to the right is how you would

           3    then reach the back unit; is that correct?

           4    A     Yes, ma'am.

11:33:44   5    Q     And you submitted a declaration in this case; is that

           6    correct?

           7    A     Yes.

           8    Q     And you indicated that you saw a police raid at the

           9    Hartman home, in February 2015?

11:34:01   10   A     Yes, ma'am.

           11   Q     Do you remember the date in February that occurred?

           12   A     I don't remember the date, exactly.        I remember what

           13   happened.

           14   Q     Was it a -- do you know if it was a weekday or a

11:34:11   15   weekend?

           16   A     I want to say weekday.      Probably -- I don't know what

           17   weekday it was.     I had to wake up to go to work.        It

           18   happened around 7:30 in the morning, give or take.

           19   Q     What time do you go to work?

11:34:28   20   A     I usually wake up right around that exact time.           Go to

           21   work right around 8:00 o'clock, or so.

           22   Q     8:00 o'clock?

           23   A     Uh-huh.

           24   Q     And you're saying that this occurred somewhere around

11:34:37   25   7:30?


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11:34:38    1   A     Yes.

            2   Q     And was it -- do you recall if it was light out?           Dark

            3   still?

            4   A     It was light.     You could see everything fine.        Sun was

11:34:46    5   up.

            6   Q     Sun was up, okay.      So you -- you said in your

            7   declaration that you heard some loud knocks and that's when

            8   you came out of your house?

            9   A     Yes.

11:34:56   10   Q     When you came out of your house, where did you go?

           11   A     In this picture?

           12   Q     Yes.

           13   A     In that alley, I have a side door about halfway down.

           14   Q     Okay.

11:35:08   15   A     I poked my head out.      And then when I looked to the

           16   left, I seen five or six cops, right there.

           17   Q     Okay.    So --

           18   A     At the stairs, going up.

           19   Q     So you came out of that side door?

11:35:21   20   A     Yes.

           21   Q     That's about halfway back of your house?

           22   A     Yes.

           23   Q     And then, did you just stand right there?          Or did you

           24   walk?

11:35:27   25   A     I peeked my head out.      Looked.    They told me to go back


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11:35:32    1   inside.

            2   Q     You so peeked your head out of your doorway?

            3   A     Yes.

            4   Q     But you did not exit your house?

11:35:38    5   A     Did not step out.

            6   Q     So -- and for how long did you do that?

            7   A     Probably 10 seconds.      Maybe 15 before the cop said go

            8   back inside.

            9   Q     Okay.    And did you go to any other area of your house

11:35:53   10   in order to observe what was going on?

           11   A     Before I went to that door -- I have a back window

           12   that's in my room that looks at the stairs going up.

           13   Q     Okay.

           14   A     I peeked at that to see.       And then, there was cops

11:36:07   15   lined up the whole stairway up.

           16   Q     Okay.    So let's take this a step back.       You told me

           17   first that you came out of your house because you heard loud

           18   knocks?

           19   A     Yes.

11:36:17   20   Q     Now, before -- are you saying that you went to your

           21   window before you heard the loud knocks and went out your

           22   door?

           23   A     No.    Heard loud knocks.     Went to the door, because I

           24   thought it was my house.       Peeked out.    Seen them.    Told to

11:36:29   25   go back in.     Went inside.    Peeked out the window because


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11:36:33    1   better view.

            2   Q     How long did you peek out of the window for this better

            3   view?

            4   A     It that was only about 10 seconds, also.

11:36:41    5   Q     And then, did you go to any other part of your house or

            6   outside of your house to watch what was going on?

            7   A     Not at first.     I got ready.    And then when I was

            8   getting ready to leave to work, I went outside in the front

            9   door in the front of the house and then kind of observed

11:36:58   10   some more before I left to go to work.

           11   Q     When you were leaving at 8:00 o'clock, let's say?

           12   A     Around about.     Maybe a little later, because I was a

           13   little slower.

           14   Q     A little slow that day?

11:37:08   15   A     Well, prasticating.      You know, kind of watch and see.

           16   Q     Okay.    So then you went back outside at that point?

           17   A     Yes.

           18   Q     And did you -- how long did you stay outside to watch

           19   what was going on?

11:37:18   20   A     Maybe another 10 minutes.

           21   Q     Okay.

           22   A     I talked to her -- his mother for a second.          And at

           23   that time, I seen him coming out.

           24   Q     Okay.    When you say you "seen him coming out," are you

11:37:31   25   referring to Mr. Hartman?


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11:37:33    1   A     Yes, ma'am.

            2   Q     You saw him at some time after 8:00 o'clock, coming out

            3   of his house?

            4   A     Yes.

11:37:39    5   Q     And when you -- when he's coming out of his house, are

            6   you referring to the door up on top of the deck?

            7   A     Yes, ma'am.

            8   Q     Okay.    So at 8:00 -- sometime after 8:00, 8:15-ish,

            9   he's coming out of the house?

11:37:55   10   A     Yes.

           11   Q     And where did you go, if you know?

           12   A     Down the stairs.     And then, I don't see where he went

           13   after that.

           14   Q     Okay.    Was he walking with anyone, or by himself?

11:38:06   15   A     There was a cop behind him.       He was all the way naked

           16   in his boxers.     And then, there's one, two -- no, there's

           17   one cop in the front and two cops behind him, escorting him

           18   down.

           19   Q     Down the stairs.     And then to some unknown location?

11:38:22   20   A     Yeah.    Because where I was sitting, I couldn't see if

           21   he went left or right; and then, that's when I left.

           22   Q     And you made this observation when you were outside the

           23   front of your house with Ms. Hartman, Mr. Hartman's mother?

           24   A     I wasn't standing next to her, but, yes.          I was out

11:38:38   25   front across the street perfect view, staring directly at


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11:38:42    1   the house and everything.

            2   Q     Okay.    And then, they went somewhere where you couldn't

            3   see them from the bottom of the stairwell?

            4   A     Yes, ma'am.

11:38:50    5   Q     So let's go back to when you heard the loud knocking,

            6   you didn't see Mr. Hartman, correct?

            7   A     No.

            8   Q     When you peeked your head out of door of your house,

            9   that first time when you heard the loud knocking, you didn't

11:39:05   10   see Mr. Hartman at all?

           11   A     No.

           12   Q     Okay.    And then, you went back in the house and you

           13   went to the back window and you looked up at Mr. Hartman's

           14   residence, correct?

11:39:14   15   A     Yes.

           16   Q     And you did not see Mr. Hartman again?

           17   A     No.

           18   Q     Okay.    It was only about 45 minutes later, do you see

           19   Mr. Hartman leaving his house, correct?

11:39:24   20   A     Yes.    Maybe 30, 40, somewhere in that zone, yes.

           21   Q     Okay.    Now, after he left -- after he left going down

           22   the stairs -- when he was going down the stairs with an

           23   officer behind him and in front of him, you said he was

           24   naked just in boxers, correct?

11:39:43   25   A     Yes.


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11:39:43    1   Q     And that's the last you saw of him?

            2   A     Yes.

            3   Q     So why did you indicate at some point they brought

            4   clothing for him, in your declaration?

11:39:55    5   A     I said that?

            6   Q     Maybe I have the wrong one.

            7                Sorry, you didn't say that.      I'm sorry.

            8   A     I was going to say --

            9   Q     You didn't say that.

11:40:06   10                Okay.   At any point, did you see Mr. Hartman in

           11   anything other than just the boxers?

           12   A     No.

           13   Q     Okay.    Now, when they're taking him down the stairs, is

           14   that when you see the shotgun and the assault rifle?

11:40:27   15   A     I seen those when I peeked through the window, when I

           16   peeked my head out.      And at that time, I seen weapons all

           17   the time.

           18                They were --

           19   Q     I'm not speaking about just weapons.         Specifically, you

11:40:36   20   were -- you referenced a shotgun and an assault rifle.

           21   A     I seen that when I peeked my head out.         And when I went

           22   to the window, I could see on the bottom stair, one guy had

           23   a shotgun.     On the stairs going up, the three or four cops,

           24   they all had weapons loaded up.

11:40:55   25   Q     So you peeked your head outside that middle door.


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11:40:58    1   That's the first time when you hear the knocking?

            2   A     Yes.

            3   Q     And at that point, you said at the bottom of the stairs

            4   you saw someone with a rifle; is that correct?

11:41:06    5   A     Yes.

            6   Q     At that point, did you see a shotgun?

            7   A     Not at that second.      The window was when I saw the

            8   shotgun.

            9   Q     Okay.    We're just peeking our head out.

11:41:15   10   A     Okay.

           11   Q     And all we see is a rifle at the bottom of the stairs

           12   being held by a man or a woman?

           13   A     I would -- I don't know that, but I would say a man,

           14   because it looked like they were all men.

11:41:26   15   Q     And at the top of the stairs, was there anyone there?

           16   A     When I peeked through the -- no, I could not see the

           17   stairs.

           18   Q     You couldn't see up the stairs.

           19   A     No.    I could only --

11:41:36   20   Q     All you could see is at the bottom of the stairs?

           21   A     Only this little view on Exhibit No. 3.          That little

           22   hallway thing, because that's where the start of the stairs

           23   start.

           24   Q     Okay.    And it's a shotgun, so it's one of those long

11:41:49   25   guns?


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11:41:50    1   A     Yeah.    Not like --

            2   Q     It's not like a little handgun, but like a long one?

            3   A     Yes.

            4   Q     I'm demonstrating, 12 to 24 inches long, something like

11:42:00    5   that?

            6   A     I would say your normal shotgun.        Pump action.

            7   Q     Okay.    So you see that.     You go back in the house and

            8   that's all you observe?

            9   A     Yes.

11:42:11   10   Q     Go back in the house.      Now, you go to the back window?

           11   A     Yes.

           12   Q     What do you see when you're at that back window?

           13   A     You see the stairs leading up.        And on every other

           14   stair, there is probably a cop, maybe three or four of them.

11:42:24   15   And then, I can also see like the edge of the house and

           16   then, that's also where I could see the other cops where I

           17   peeked out.     So, I could see two cops down there and up the

           18   stairs, probably, one every other stair.          Maybe at least

           19   three or four more.

11:42:38   20   Q     Okay.    So you see -- you still see the -- some type of

           21   law enforcement officer with that shotgun at the bottom of

           22   the stairs?

           23   A     Yes.

           24   Q     And then you see law enforcement going up the stairs?

11:42:51   25   A     Yes.


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11:42:51    1   Q     On various stairs; is that correct?

            2   A     Yes.

            3   Q     And then at the top, is there somebody --

            4                When do we see this assault rifle?

11:42:59    5   A     On the stairs.     They had them.

            6   Q     They all had assault rifles?

            7   A     I want to say one of them did.

            8   Q     One had an assault rifle?

            9   A     Yeah.

11:43:06   10   Q     An assault rifle, can you describe what you mean by

           11   "assault rifle"?

           12   A     A normal longer gun, machine gun with barrel with a

           13   curved clip.     He was not holding it.      It was attached to his

           14   back like a strap that they wear, so it was on his back.

11:43:19   15   And his hand, I want to say was a gun, but I -- handgun, but

           16   I don't know that for sure.

           17   Q     So the weapon that you're describing as an assault

           18   rifle is not being held by the officer?

           19   A     No, it's on his back.

11:43:31   20   Q     It's actually strapped onto his back?

           21   A     Yes.

           22   Q     And then, the other law enforcement that you see on the

           23   stairs, do they have weapons that they're holding in their

           24   hands?    If you know?

11:43:49   25   A     Off the top of my head, I would want to say handguns


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11:43:52    1   only, but I don't know 100 percent because there's a railing

            2   that's there, so some people they were higher, I couldn't

            3   quite see everything and some were a little lower which I

            4   had a better view at, so I don't know if every single one of

11:44:04    5   them were holding a weapon.

            6   Q     Okay.    Now, the knock has already occurred.        They've

            7   already -- you've heard this shouting.

            8                Do you see Mr. Hartman?

            9   A     No.

11:44:13   10   Q     Did you ever see Mr. Hartman out on the deck when

           11   you're looking at that back window?

           12   A     No.

           13   Q     So when you say the officers removed an adult male from

           14   the home, that's from the front of the house view, seeing

11:44:41   15   Mr. Hartman being brought down the stairs --

           16   A     Yes, ma'am.

           17   Q     -- about 45 minutes later?       Okay.

           18                Is that correct?

           19   A     Yes.

11:44:57   20   Q     Were there any other neighbors outside that you

           21   observed?

           22   A     A couple.

           23   Q     Who?

           24   A     I do not know.     I did not talk or ask.      Only when (sic)

11:45:08   25   I actually recognized as (sic) name and everything was his


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11:45:13    1   mother.

            2   Q     Do you know Philip Mainolfi?

            3   A     Yes, I do.

            4   Q     Did you see him outside?

11:45:18    5   A     No, I did not.

            6   Q     Did you see him here today?

            7   A     Yes, I did.

            8   Q     Have you talked to him about this incident?

            9   A     About this?     Yes.

11:45:26   10   Q     When did you talk to him about this?

           11   A     The day after -- the day it happened when I came home,

           12   we just kind of talked and said, Did you see this?            Or did

           13   you see that?     Or what happened?     Or do you even know what

           14   happened, or why this happened?        So just basic stuff.

11:45:43   15   Q     Are you friends with Mr. Mainolfi?

           16   A     Yes.

           17   Q     And like friends, do you go to his house?

           18   A     I hang out with him.      I've met him when I moved in to

           19   this house, and I hang out with them here and there,

11:45:56   20   randomly.

           21   Q     But you didn't see him when you peeked your head out

           22   the side of the house, or the back window, or when you were

           23   in the front of the house?

           24   A     No.

11:46:04   25   Q     And where is his home in relationship to yours?


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11:47:35    1   A     In this picture, you're looking --

            2   Q     Look at the overview photo, yes.

            3   A     In 3 or 2?

            4   Q     In --

11:47:37    5   A     Because I can describe it from either/or.

            6   Q     Let's do it from 2.

            7   A     In picture 2, where you see the A --

            8   Q     Yes.

            9   A     -- two houses to the right is his, so it's the big long

11:47:41   10   one with the right chimney on the top.         That's his house.

           11   Q     Is he the only one who resides at the house, if you

           12   know?

           13   A     No, he has some roommates, I think two.

           14   Q     Is it a -- does it encompass multiple residents within

11:47:46   15   that home, or is it one home?

           16   A     It's just one big home.       There's an upper unit and

           17   lower unit, and he's in the upper unit.

           18   Q     Okay.    Do you know Mr. Hartman, other than as someone

           19   residing behind you?

11:47:50   20                Do you have a relationship with him?

           21   A     No, I do not.

           22   Q     Now, when you said he came down the stairs, you said he

           23   was either handcuffed, or his hands were held behind his

           24   back by an officer?

11:47:54   25   A     Yes.


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11:47:54    1   Q     Could you see metal handcuffs on his wrists?

            2   A     No.   I was too far away.

            3   Q     Could you see any plastic ties on his wrists?

            4   A     No.

11:47:58    5   Q     Did you just see his hands in a position that looked as

            6   if they were in the back and you were just speculating as to

            7   whether they were handcuffed or tied in some fashion?

            8   A     I seen his hands wrapped behind his back, like this

            9   (indicating), like a normal.        I couldn't see those bound or

11:48:07   10   not, but they were 100 percent behind his back just like a

           11   normal person --

           12   Q     Walking with their hands behind their back, like this

           13   if I'm walking (indicating).

           14   A     That's what it looked like.       Hands behind the back.

11:48:18   15   Q     Holding his hands that you could see?

           16   A     That I could not see.      From the distance of my road to

           17   there, like I couldn't quite see fine detail like that; and

           18   then, there's also those railings that are right there that

           19   block it sometimes, depending on where you're looking

11:48:33   20   exactly.

           21   Q     And remind me, was the assault -- was the assault

           22   weapon or the rifle going down the stairs with him when he's

           23   being escorted out?

           24   A     Not seeing any weapons going down the stairs.

11:48:47   25   Q     Okay.    And you're certain he didn't have a shirt on?


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11:48:53    1   A     He only had his boxers.

            2                MS. LEAL:   One moment.

            3         (Pause.)

            4   BY MS. LEAL:

11:49:18    5   Q     Couple more questions.

            6                You said you saw a battering ram?

            7   A     Yes.

            8   Q     Where did you see that?

            9   A     The stairs.

11:49:25   10   Q     So is that when you're at the back window or when you

           11   first peeked your head out?

           12   A     Window.

           13   Q     The back window.     And where was the battering ram?

           14   A     Not the first guy, but the second guy going up.

11:49:37   15   Q     That was not --

           16   A     Like against the wall, like kind of sitting right

           17   there.

           18   Q     Okay.    And do you recall a later date this year

           19   Mr. Hartman being arrested at his residence?

11:49:50   20   A     Something but not me being there.        I remember hearing

           21   about it.

           22   Q     Okay.    But this was definitely -- this occurred in

           23   February, what you're describing?

           24   A     Yes.    Yes.

11:50:05   25                MS. LEAL:   Nothing further.


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11:50:08    1                 THE COURT:    All right.   Anything on redirect?

            2                 MS. JACOBS:   Just a couple quick questions.

            3                           REDIRECT EXAMINATION

            4   BY MS. JACOBS:

11:50:19    5   Q      Good morning, Mr. Klocke.

            6   A      Hello.

            7   Q      Just a couple of quick questions:       I believe that you

            8   said in your testimony today that you saw about five or six

            9   cops going up the stairs and that was when you did the

11:50:32   10   peek-out?

           11   A      Yeah.    Well, when I did the peek-out, I only see the

           12   two on the bottom.      The window is when I seen the other ones

           13   going up the stairs.

           14   Q      So when you looked out the window, you saw the five or

11:50:45   15   six?

           16   A      Yes.

           17   Q      And when you did the peek-out, you said you saw two

           18   cops?

           19   A      Yes.

11:50:54   20   Q      Where were they, again?

           21   A      In Picture 3.    They were on the ground in that little

           22   sidewalk, just next to the stairs going up.

           23                 If you look really close to the right, yeah, kind

           24   of where you're pointing, that's a brick wall.

11:51:17   25   Q      Okay.


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11:51:18    1   A     And they were, basically, right there before the stairs

            2   go up.

            3   Q     And was it one of those cops that told you to go back

            4   inside?

11:51:30    5   A     Yes.

            6   Q     And then, I just want to get a little bit more detail

            7   on when you saw Mr. Hartman being escorted by the officers.

            8                Did you say that there was one cop in front of him

            9   and two cops behind him?

11:51:46   10   A     Yes.

           11   Q     And did they have guns on them?

           12   A     In their possession?

           13   Q     Yes.

           14   A     But not like holding them out, or nothing like that.

11:51:56   15   Q     Okay.

           16   A     I would assume that he had them on his side.          I could

           17   see the very, very top guy.        He had this gun in the holster

           18   type thing, but I didn't see any guns out at that time.

           19   Q     Okay.    And when Mr. Hartman had his hands behind his

11:52:11   20   back, did it appear to you that his hands were restrained?

           21   A     I would say so.

           22                MS. JACOBS:   Okay.    No further questions.

           23                Thank you very much.

           24                THE COURT:    Anything further?

11:52:30   25                MS. LEAL:    Nothing further, Your Honor.


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11:52:31    1               THE COURT:    May this witness be excused?

            2               MS. LEAL:    Yes.

            3               MR. ORTEGA:    Yes, Your Honor.

            4               THE COURT:    You're excused.     You may step down.

11:52:39    5               Since we have another witness, who is a third

            6   party, let's try to get that done this morning.

            7               Do we have any other third-party witnesses today

            8   in this hearing?

            9         (Pause.)

11:53:13   10               THE CLERK:    Please raise your right hand.

           11             PHILIP MAINOLFI, DEFENDANT'S WITNESS, SWORN

           12               THE WITNESS:     I do.

           13               THE CLERK:    Step forward.     Step in the back.

           14         (Pause.)

11:53:24   15               THE CLERK:    Sir, can you, please, state your full

           16   name, spelling your first and your last for the record.

           17               Philip Mainolfi, P-H-I-L-I-P M-A-I-N-O-L-F-I.

           18               THE COURT:    All right.    You may inquire.

           19                             CROSS-EXAMINATION

11:53:49   20   BY MS. LEAL:

           21   Q     Good morning, Mr. Mainolfi.

           22   A     Good morning.

           23   Q     What's your -- do you know Mr. Hartman?

           24   A     I do not.

11:53:55   25   Q     Have you seen him before?


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11:53:56    1   A     Just on the day that I witnessed him being arrested.

            2   Q     Okay.    How long have you -- actually, where do you

            3   live?

            4   A     I live at 221 35th Street, two houses down.

11:54:08    5   Q     From Mr. Hartman?

            6   A     Yes.

            7   Q     There's a manila folder up there.        Can you pull out

            8   what's marked as Exhibit 2?

            9   A     Yes.

11:54:26   10   Q     Do you see that?

           11   A     Yes.

           12   Q     Do you recognize that?

           13   A     Yes.    My house is the one all the way on the right

           14   where the front yard is cut off, basically.

11:54:35   15   Q     So the large white house, two houses down from where

           16   you see that "A"; is that correct?

           17   A     Yes.    That's correct.

           18   Q     Okay.    And who do you reside in that house with?

           19   A     Paul Marcue (phonetic) and Kyle Willis.

11:54:53   20   Q     Are these roommates?

           21   A     Yes.

           22   Q     And do you live on the bottom floor?         The top floor?

           23   A     I live on the top floor.       If you look at the side of

           24   the house, you can see a window, which is where I

11:55:01   25   eyewitnessed everything through.


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11:55:03    1   Q     Okay.    And how long have you lived there?

            2   A     A little over a year.

            3   Q     So since the beginning of January?

            4   A     No.    Beginning of last July.

11:55:13    5   Q     July 2014?

            6   A     Yes.

            7   Q     And you submitted a declaration in this case?

            8   A     I did.

            9   Q     You said that you saw a police raid at the Hartman

11:55:28   10   home, in February 2015?

           11   A     I did.

           12   Q     Do you remember what date that occurred?

           13   A     I do not.    Sorry.

           14   Q     Do you remember if it was a weekday or the weekend?

11:55:37   15   A     It was a weekday.

           16   Q     Okay.    And why do you remember it was a weekday?

           17   A     Because I just heard a loud knock on the door and

           18   people yelling, Police.       So I thought it was my door, so I

           19   jumped out of bed and looked and no one was there.            And then

11:55:49   20   I thought, I have to go to work.        I'm late.    I remember it

           21   being a workday.

           22   Q     It was a workday?

           23   A     Going to work.

           24   Q     That's where I was going.       So you remember it, because

11:55:58   25   it was a workday?


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11:55:59    1   A     Exactly.

            2   Q     And when do you usually start work?

            3   A     Between 7:00 and 8:00.

            4   Q     Okay.    When do you usually leave your house?

11:56:07    5   A     Usually, around 6:30.      I remember being late this day.

            6   I don't remember what time it was.         I remember I didn't set

            7   my alarm and that woke me up and it was light out, which

            8   usually I leave before it's light out.

            9   Q     Okay.    So it was light out when you heard this police

11:56:17   10   raid?

           11   A     Yes.

           12   Q     And you heard this police raid because you heard loud

           13   knocks?

           14   A     Yeah.    And I heard someone yell Police, and it kind of

11:56:26   15   startled me in bed.       I didn't want them to kick in the door,

           16   so I jumped up and ran to the door.

           17   Q     Okay.    So you ran down to your door?

           18   A     It was actually on the same floor.         It's upstairs on

           19   the other side adjacent to this window.

11:56:37   20   Q     Oh, that's right.      But that's what you usually did was

           21   ran to you door --

           22   A     Yes.

           23                THE COURT:    I'm going to ask you, you have to wait

           24   until the attorney finishes with her question.

11:56:45   25                THE WITNESS:    Okay.


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11:56:46    1                THE COURT:   Then begin your answer and use about

            2   the pace that I'm using now, which is a bit slower than what

            3   you're using, and that will help my court reporter.

            4                THE WITNESS:    Okay.   Sorry about that.

11:56:57    5                THE COURT:   That's fine.

            6   BY MS. LEAL:

            7   Q     So you were telling me, Mr. Mainolfi, that you heard

            8   loud knocks and you heard someone yell Police; is that

            9   correct?

11:57:06   10   A     Yes.

           11   Q     And at that point, you were startled and you ran to

           12   your door?

           13   A     Correct.

           14   Q     And looking at the aerial photo of your home, would

11:57:14   15   that be at the front of the street?

           16   A     No.

           17   Q     35th?

           18   A     No, it's not on the front.       It's on the side of the

           19   house.

11:57:22   20   Q     Your front door is at the side of the house?

           21   A     Yes.

           22   Q     And it's on the top floor?

           23   A     Correct.

           24   Q     Okay.    So which side?    The side closer to Mr. Hartman's

11:57:30   25   side, or the other side?


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11:57:32    1   A     The other side.

            2   Q     Okay.    So you ran to the front door.

            3               Did you open your door?

            4   A     I did.

11:57:38    5   Q     And you looked around, or --

            6   A     Yeah, I looked around.      And there's a hedge out in

            7   front, so you can't see anything, but there was nothing out

            8   there, which I thought was weird, so I just went back to my

            9   room.

11:57:47   10   Q     And then, did you hear more noise causing you to want

           11   to look outside?

           12   A     Not from outside.      I heard noise, my roommates moving

           13   around inside, so I came out of my room.          And at that point,

           14   I saw one of them looking out the window towards

11:58:02   15   Mr. Hartman's house.

           16   Q     Okay.    And is that the window that you referenced

           17   earlier, the window that's on the side of the house, the

           18   middle of your home?

           19   A     It is.

11:58:11   20   Q     Okay.    So you went to that window with your roommate?

           21   A     Correct.

           22   Q     Okay.    And about how long did you stay at that window,

           23   looking at what was going on in the neighborhood?

           24   A     Probably 30 seconds to a minute.

11:58:24   25   Q     Okay.    And then, what did you do after that?


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11:58:28    1   A     I walked down the stairs to the front of the house, and

            2   I took a left away from the defendant's house and went to my

            3   car and went to work.

            4   Q     Okay.    So you spent about 30 seconds to a minute,

11:58:43    5   observing what was going (sic) outside related to this

            6   police raid and then you left for work?

            7   A     Correct.

            8   Q     And when you left for work, you didn't go -- you didn't

            9   look backwards, the Hartman home or anything, you went

11:58:53   10   straight to your car and departed?

           11   A     I didn't look back at their house.         I looked on the

           12   road.

           13   Q     On 35th Street?

           14   A     Yeah.

11:59:02   15   Q     So now let's talk about that 30 seconds to a minute

           16   where you're looking out the window towards Mr. Hartman's

           17   home.

           18               Okay.   So you said in your declaration you saw an

           19   adult male on the deck wearing only boxer shorts?

11:59:21   20   A     That is correct.

           21   Q     And when you say "adult male," was that Mr. Hartman, or

           22   were you unable to identify the adult male?

           23   A     I was unable to identify him.        I'm a little

           24   nearsighted, so I can't see that far.

11:59:29   25   Q     Do you usually wear glasses?


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11:59:32    1   A      For driving and in low-light situations.

            2   Q      Okay.    Would low light be morning light?       7:00 a.m.?

            3   A      Usually, if it's dark, or if I'm actually driving my

            4   car, but I wouldn't be wearing them like in this situation

11:59:47    5   or walking around the street.

            6   Q      Okay.    So you couldn't tell -- you knew it was a male,

            7   but you couldn't tell if it was Mr. Hartman?

            8   A      I could not.

            9   Q      And did the person have a shirt on?

11:59:58   10   A      They did not.

           11   Q      You're sure of that?

           12   A      I'm pretty sure of that.      I'm not 100 percent.      But my

           13   recollection, he was not wearing a shirt.

           14   Q      Would you -- your vision would allow you to tell --

12:00:10   15   A      Oh, I could tell, definitely, if he was wearing one or

           16   not.

           17   Q      But he was wearing some type of shorts?

           18   A      Yes.

           19   Q      And was he standing or was he sitting on the -- on his

12:00:21   20   deck?

           21   A      He was standing right outside the door.

           22   Q      When you say "right outside the" -- let's look at

           23   Exhibit 3.

           24                 Do you recognize that photo?

12:00:41   25   A      I do.


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12:00:42    1   Q     Is that Mr. Hartman's home in the back there?

            2   A     Yes.

            3   Q     Is that the deck that you were referring to that he was

            4   standing on?

12:00:49    5   A     Yes.    The upper deck.

            6   Q     Okay.    And when you say he was standing, you're saying

            7   he was standing next to the door which would be on the left

            8   side by the chimney area?

            9   A     Yes.    I don't know if he was directly in front of it or

12:01:02   10   more towards the street, but he appeared to be on the far

           11   side of the deck.

           12   Q     Okay.    And he's just standing there?

           13   A     Yes.

           14   Q     Can you see his hands?

12:01:09   15   A     I could not see his hands.

           16   Q     Could you see --

           17   A     I wasn't really paying attention.        It could have

           18   been --

           19   Q     So what part of --

12:01:15   20                Just a minute.    So what part of your body could --

           21   what part of his body could you observe?          Above the waist,

           22   or below the waist, or all?

           23   A     All.

           24   Q     But you couldn't see his hands?

12:01:26   25   A     I wasn't -- I could, but I wasn't looking or paying


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12:01:29    1   attention to what they were doing.         I just --

            2   Q     So they weren't doing anything that caught your eye?

            3   A     No, they weren't like moving around, or flailing, or

            4   anything like that.

12:01:38    5   Q     Okay.    Did he look like he was handcuffed?

            6   A     I don't recall.     I just remember seeing someone

            7   standing there.     I believe --

            8   Q     Would you have remembered if you saw somebody

            9   handcuffed, as opposed to just standing there?

12:01:49   10   A     If I could make it out clearly.        There was a bunch of

           11   police officers around as well moving, so I could just make

           12   out a male with no clothes on.        It was little late, so it

           13   didn't really concern me too much, so I went about my

           14   business.

12:02:02   15   Q     I want to clarify, Mr. Mainolfi, you said he didn't

           16   have clothes on, but he did have clothes on.           He did have --

           17   A     He had boxer shorts on, yes, but not fully clothed.

           18   Q     So he's standing there with boxers doing nothing that

           19   draws your attention really to him.

12:02:16   20                And are there other people on that deck?

           21   A     Yes.

           22   Q     How many people, approximately?

           23   A     I would say three or four maybe.

           24   Q     And did the three or four people, were they completely

12:02:28   25   clothed?


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12:02:29    1   A     Yes.

            2   Q     Were they wearing anything unique that drew your

            3   attention to them?

            4   A     One of the officers had writing on the back of his

12:02:36    5   shirt.    It was an acronym, so I didn't know what it was, so

            6   I Googled it, and it was Homeland Security.

            7   Q     Okay.

            8   A     Other than that --

            9   Q     So you saw an acronym, an "HSI," or --

12:02:46   10   A     Yeah, "HSI."     That's it.

           11   Q     But you recognize them as law enforcement?

           12   A     Correct.

           13   Q     Okay.    Did you see any weapons?

           14   A     Holstered weapons, I believe, they had on their hip,

12:02:58   15   but I'm not 100 percent sure.        They looked like police, and

           16   I saw a police car on the side of the house, so I didn't

           17   really --

           18   Q     So you didn't really pay attention if they had

           19   weapons --

12:03:06   20   A     Yeah, I wasn't --

           21   Q     Are you making some assumptions right now, maybe?

           22   Because I don't want to --

           23   A     Yeah, that's correct.      Yeah, I don't recall seeing

           24   anyone.

12:03:11   25                THE COURT:   I'm sorry.    You can't speak over each


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12:03:14    1   other.

            2                MS. LEAL:    Sorry, Your Honor.

            3                THE WITNESS:    I apologize.

            4                THE COURT:   Question and answer.      You can imagine

12:03:19    5   that the court reporter doesn't have four hands, so she

            6   cannot take down two people speaking at the same time.

            7   BY MS. LEAL:

            8   Q     Mr. Mainolfi, I just want you to tell me what you

            9   recall and not any assumptions.

12:03:27   10   A     Okay.

           11   Q     Okay.    So you recognize them as law enforcement,

           12   correct?

           13   A     Correct.

           14   Q     Because of their clothing and you said there was a

12:03:34   15   police car out front; is that correct?

           16   A     It was on the side of the street; but, yeah, it was --

           17   it was in front of the house, but there was one out on the

           18   side on the street on the other side of my house.

           19   Q     And you observed it was two to three law enforcement

12:03:52   20   officers, up there; is that correct?

           21   A     On the porch.      That's correct.

           22   Q     On that deck porch --

           23   A     Correct.

           24   Q     -- with the adult male?

12:03:59   25   A     Yes.


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12:03:59    1   Q     Okay.    Did you see any other law enforcement --

            2   A     I saw --

            3   Q     -- from your window view?

            4   A     From my window view, no.

12:04:07    5   Q     Okay.    Did you see any rifles or shotguns?

            6   A     I did not.

            7   Q     Okay.    You said -- so in that 30 seconds to a minute

            8   that you were watching, did you see some law enforcement

            9   officer bring clothing to the adult male?

12:04:29   10   A     I did not.    I heard someone make the comment, We will

           11   go get you clothing, or We'll go get you pants, something

           12   along those lines, but I did not witness anyone doing that.

           13   Q     So you did not see anyone go and bring the adult male

           14   clothing, correct?

12:04:44   15   A     Correct.

           16   Q     But instead you heard from the window that someone was

           17   going to get clothing for the adult male?

           18   A     Correct.

           19   Q     Okay.    And was the window open, I'm assuming?

12:04:57   20   A     Yes.    The window is always open.

           21   Q     Okay.    And when you say you heard, can you recall what

           22   you heard?

           23   A     Not verbatim, but it was something along the lines of,

           24   We're going to go inside and get you pants, or We're going

12:05:11   25   to go get you clothing.


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12:05:13    1   Q     And those comments that you heard, were they directed

            2   at the adult male?

            3   A     Correct.

            4   Q     Okay.    And did you hear or see a response from the

12:05:21    5   adult male?

            6   A     I did not.

            7   Q     Did you -- in that 30 seconds to a minute, were you

            8   there long enough for the clothing to come out?

            9   A     I was not.

12:05:30   10   Q     Okay.    So then after that, did you witness anything

           11   else, during that 30 seconds to a minute?

           12   A     I did not.

           13   Q     Okay.    And then you left --

           14   A     Correct.

12:05:40   15   Q     -- for work?

           16   A     Correct.

           17   Q     Why did you -- why did you put in your declaration that

           18   at some point police went inside the home and brought

           19   clothing in adult male, if you didn't in fact see that?

12:05:58   20   A     I saw them go into the home.        I did not see them bring

           21   clothing to the male.

           22   Q     But you just testified that you didn't see anyone go

           23   get clothing.     You just heard the comment?

           24   A     Correct.    And someone walked into the house, but I did

12:06:12   25   not see them bring the clothing back, because I did not stay


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12:06:15    1   there long enough to do that.

            2   Q     So that -- my question is:       Why would you put in your

            3   declaration that police went inside the home and brought

            4   clothing for the adult male, if you didn't in fact witness

12:06:29    5   anyone bring clothing to the adult male?

            6               MS. JACOBS:    Objection, Your Honor.       Asked and

            7   answered.

            8               THE COURT:    Sustained.

            9   BY MS. LEAL:

12:06:51   10   Q     Just one moment.

           11               Do you recall the color of the shorts or the boxer

           12   shorts that the adult male was wearing?

           13   A     I do not.

           14               MS. LEAL:    Thank you.

12:07:03   15               THE COURT:    Anything on redirect?

           16               MS. JACOBS:    No questions, Your Honor.

           17               THE COURT:    May this witness be excused?

           18               MS. JACOBS:    Yes, Your Honor.      Thank you.

           19               MS. LEAL:    Yes, Your Honor.

12:07:12   20               THE COURT:    You are excused.     Just leave that

           21   there.    We'll take care of that.      Thank you.     You may step

           22   down.

           23               All right.    Then, we'll be in recess.       We'll

           24   reconvene tomorrow at 2:00 p.m.

12:07:22   25               THE CLERK:    All rise.


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12:07:23    1         (At 12:07 p.m., proceedings were adjourned.)

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            3                                    -oOo-

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12:07:23    5                                CERTIFICATE

            6               I hereby certify that pursuant to Section 753,

            7   Title 28, United States Code, the foregoing is a true and

            8   correct transcript of the stenographically reported

            9   proceedings held in the above-entitled matter and that the

12:07:23   10   transcript page format is in conformance with the

           11   regulations of the Judicial Conference of the United States.

           12

           13   Date:    November 1, 2015

           14

12:07:23   15

           16                                       /s/DEBORAH D. PARKER
                                          DEBORAH D. PARKER, OFFICIAL REPORTER
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